                                                                       Case 1:14-cr-00147-LJO-BAM Document 78 Filed 09/09/15 Page 1 of 3


                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                  3    Telephone:     (559) 779-2315
                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    ROBERT MARTINEZ

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                                                                  7
                                                                                                         UNITED STATES DISTRICT COURT,
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                                                                                                        EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                                      Court Case#: 1:14-cr-00147
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                          Plaintiff,                                         STIPULATION AND O R D E R ON
                                                                  13                                                                         MODIFICATION OF CONDITIONS OF
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.                                                                    RELEASE
                                                                  14
                                                                       ROBERT MARTINEZ
                                                                  15
                                                                                          Defendant.
                                                                  16

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                                                                              Defendant ROBERT MARTINEZ, though his counsel, and the Plaintiff UNITED STATES
                                                                  19
                                                                       of AMERICA, though its counsel, Michael Tierney, respectfully requests that the following
                                                                  20
                                                                       stipulation be approved and the order modifying the conditions of his pre-trial release be granted. Mr.
                                                                  21   MARTINEZ is currently under GPS monitoring through Pre-Trial services and is requesting to
                                                                  22   change to a curfew supervision due to the scheduling of his employment.
                                                                  23          Pre-Trial Services was contacted for verification of Defendant’s compliance and they have
                                                                  24   indicated that Mr. Martinez is in compliance and support the modification.
                                                                  25          Pursuant to the conditions of his pre-trial release, Mr.MARTINEZ has been in full compliance

                                                                  26   with the the terms of his Pre- Trial Release and never had any violations of the GPS monitoring.

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                                                                                        Order on [ Proposed] Motion to Modification of Pre-Trial Conditions                -1-
                                                                       Case 1:14-cr-00147-LJO-BAM Document 78 Filed 09/09/15 Page 2 of 3


                                                                  1
                                                                       As such, the Government and Mr. Martinez hereby stipulate that Mr.Martinez’s conditions of the pre-
                                                                  2
                                                                       trial release be modified from GPS monitoring to curfew.
                                                                  3

                                                                  4           Date: 9/2/15                                         /s/Yan E. Shrayberman
                                                                  5                                                                YAN E. SHRAYBERMAN
                                                                  6           Date: 9/2/15                                         /s/ ROBERT MARTINEZ
                                                                  7                                                                ROBERT MARTINEZ
                                                                  8

                                                                  9           DATE: 9/2/15                                         /S/MICHAEL TIERNEY

                                                                  10                                                               MICHAEL TIERNEY

                                                                  11
LAW OFFICES OF YAN E. SHRAYBERMAN




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                                                                  1                                    UNITED STATES DISTRICT COURT
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                                                                  3                                    EASTERN DISTRICT OF CALIFORNIA
                                                                  4

                                                                  5    UNITED STATES OF AMERICA,                          Court Case#: 1:14-cr-00147-AWI-BAM (03)

                                                                  6                       Plaintiff,
                                                                                                                              ORDER MODIFYING CONDITIONS
                                                                  7    v.                                                     OF SUPERVISED RELEASE

                                                                  8    ROBERT MARTINEZ

                                                                  9                       Defendant.

                                                                  10

                                                                  11           IT IS ORDERED, that the conditions of ROBERTO MARTINEZ’s (3) pretrial release are
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12   hereby modified to reflect that ROBERTO MARTINEZ JR. (3) Pre- Trial GPS monitoring is hereby

                                                                  13   modified to curfew to be administered by the Eastern District Pre-Trial Officers.
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                  14   IT IS SO ORDERED.
                                                                  15
                                                                            Dated:   September 8, 2015                            /s/ Barbara A. McAuliffe      _
                                                                  16                                                       UNITED STATES MAGISTRATE JUDGE
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